
In re Citgo Petroleum Corp.; CIGNA Insurance Co.; U.S. Fire Insurance Co.;— Plaintiffs); applying for writ of certiorari and/or review; Parish of Calcasieu, 14th Judicial District Court, Div. “F”, Nos. 87-1629, 87-2214, 87-2241, 87-2242, 87-3245; to the Court of Appeal, Third Circuit, Nos. CA95-1574, CA95-1575, CA95-1576, CA95-1577, CA95-1578.
Granted and remanded to the court of appeal to decide the case on the record. Gonzales v. Xerox, 320 So.2d 163 (La.1975).
VICTORY, J., would grant and docket to re-examine Gonzales v. Xerox.
WATSON, J., not on panel.
